
JAMES CANN, Judge.
On or about the 20th day of July, 1949, the agents and servants of the respondent were engaged in painting, by means of a spray gun, a bridge spanning Elk river, at or near Big Chimney, Kanawha county, West Virginia; they were using red lead paint, commonly used in the painting of bridges. On the above mentioned date, some of the paint that was being used was sprayed on the claimant’s automobile while being operated over said bridge, resulting in damages to claimant in the sum of $25.00.
It is evident that claimant’s automobile while traveling over said bridge was not observed by the employes of respondent. The record discloses that no flagman was present, or other means of warning used, to warn persons using said bridge that it was being sprayed with paint. Further, the record fails to disclose any negligence or contributory negligence on the part of the claimant; but that the damage suffered by claimant was caused solely by the negligence of the employes of the respondent.
*3Recommendation of payment of this claim is made by respondent and concurred in by the attorney general. Under all the facts and circumstances as shown by the record, we are of the opinion, and so hold, that the state should compensate claimant for the damages suffered; therefore an award is made in favor of claimant, A. L. Gant, in the sum of twenty-five dollars ($25.00).
